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THE CITY OF NEW YORK
DEPARTMENT OF CORRECTION

DIRECTIVE

 

 

C ]

NEW

[ ] INTERIM [X] REVISED

SUBJECT

 

EFFECTIVE DATE

*TERMINATION DATE

REFERRAL OF INMATES TO MENTAL

 

04/08/99 HEALTH SERVICES
CLASSIFICATION SUPERSEDES DATED DISTRIBUTION PAGE 1
# 4018R Directive #4018 07/18/83 A OF 4 PAGES

 

 

 

 

 

RECOMMENDED FOR APPROVAL BY REVIEW BOARD MEMBER

Ailes bprurc
WILLIAM J. FRASER, CHIEF OF BEPA ENT SIGNATURE

 

AUTHORIZED BY THE COMMISSIONER

BERNARD B. KERIK ( SIGNATURE

 

PURPOSE

To provide procedures that will ensure early identification and assessment of inmates
with possible emotional disorders, and the prompt referral of these inmates to Mental
Health Services.

PROCEDURE

A.

MENTAL HEALTH REFERRAL LOGBOOK:

A mental health referral logbook shall be maintained in each facility’s Central Control
Room. The logbook shall contain the following information:

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Name/number of the referred inmate;

Date/time/tour of referral;

Name/shield number of supervisor making the referral;

Reason(s) why the inmate was referred - state briefly;

Disposition;

Any other pertinent information.

Whenever a Correction Officer observes or is informed of an inmate exhibiting behavior
that may necessitate mental health intervention or a notation has been made on the
inmate’s commitment papers indicating the need for mental health evaluation or
treatment, the Correction Officer shall immediately notify his/her area supervisor.

 
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II]. PROCEDURE (cont.)

C. After making the notification, the Correction Officer shall initiate a referral to Mental
Health Services by completing the top part of form #4018R (Referral of Inmate to
Mental Health Services). The behavioral characteristics displayed by the inmate
shall be indicated by circling the appropriate item(s) on the Behavioral Checklist. If
the behavior displayed is not fisted, the behavior shall be described in the space
provided on the form; upon completion, the Correction Officer shall submit the form
to his/her area supervisor for endorsement and further processing.

D. Inaddition to completing form #401 8R, the Correction Officer shall enter the following
information in the housing area logbook:

1. Name, number and cell location of the inmate concerned;
2. Brief description of the behavior observed;

3. Name/shield number of the supervisor notified;

4. Date/time notified;

5. Name/shield number of the reporting officer.

E. Upon receiving notification that an inmate may be in need of Mental Health Services,
the area supervisor shall ascertain the urgency of the situation and take appropriate
action. The supervisor’s assessment of the referral and the disposition of handling
same, can be carried out by giving oral instruction to the reporting officer or by
promptly responding to the area concerned. The assessment should also include
interviewing the subject inmate (if feasible), the officer, and any other appropriate
parties. In any event, the supervisor shall complete the lower part of form #401 8R.

F. After completing the lower part of form #4018R, the supervisor shall submit the
original to Mental Health Services and forward a copy to the designated area of the
institution for filing and future reference. In the event that mental health staff is
unavailable, form #4018R shall be submitted to the medical staff. If required, the
inmate will be taken to the medical clinic.

G. After submitting form #4018R to mental health or medical services, the supervisor
shall make the appropriate entries in the Mental Health Referral Logbook (see
paragraph II.A.).

 
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PROCEDURE (cont.)

H.

Upon completion of the evaluation, Mental Health Services shall prepare a summary
of their findings as outlined on the reverse side of form #4018R. Mental Health
services shall retain a completed copy of form 4018R for their files; additionally, a
copy shall be forwarded to medical services and to the Central Control Room, where
the Mental Health Referral Logbook is maintained. The designated person shall then
forward a copy of the completed form to the office of the Deputy Warden for
Programs. The Programs Office shall ensure that the completed Mental Health referral
form #4018R is filed in the inmate’s folder in the General Office.

The Mental Health Referral Logbook shall be reviewed on each tour by the Tour
Commander in order to ensure that inmates were evaluated by the Mental Health
Staff in a timely manner. This logbook will be signed by the Tour Commander at the
completion of each tour.

All inmates who were referred to Mental Health Services should receive an evaluation
no later than forty-eight (48) hours following the referral (emergency cases excluded),
This does not preclude examination and/or treatment by the medical staff.

Note: In the interim, between referral and evaluation (depending on the severity
of the case), it may be necessary to place the inmate under special
observation and/or effect a change of location.

In the event that an inmate is not evaluated/treated within the prescribed period,
the Tour Commander shall ensure that the subject inmate is seen as soon as .
practicable; additionally, a written report shall be submitted to the Head of the
Institution (through channels), outlining the reason(s) why the inmate was not seen
within the prescribed period. Any information relative to the inmate’s safety and/or
the security of the institution should be promptly reported to the Deputy Warden
for Security:

REFERENCE

A. Directive #4016, MENTAL HEALTH REFERRAL OF INMATES AWAITING DISCIPLINARY

B. -

ACTION, dated 10/25/82.

Rule & Regulation 7.05.090

 
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“IV. ATTACHMENT
Form #4018R, REFERRAL OF INMATES TO MENTAL HEALTH SERVICES, dated 4/7/99.

V. SUPERSEDES

Directive #4018, REFERRAL OF INMATES TO MENTAL HEALTH SERVICES, dated
07/18/83 (as amended).
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CORRECTION DEPARTMENT
CITY OF NEW YORK
REFERRAL OF INMATES TO side [foe aos
MENTAL HEALTH SERVICES 1of2 [REF DIR. 4018R
Inmate's Name: Book and Case Number: Location:
Name/Shield Number of Reporting Officer: Name/Shield Number of Supervisor Notified:
BEHAVIORAL CHECKLIST

 

Listed below are some of the behavioral traits that may indicate a need for Mental Health referral. (Circle
the appropriate item{s)]).

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Showing radical changes in behavior;

Expressing a desire to commit suicide and/or attempting suicide;

Planning to inflict bodily harm, attempting or actually carrying out the act. (This may be
expressed verbally or through written communication);

Unable to sleep, particularly at night, awakening at odd hours of the early morning and
brooding;

Arranging personal belongings in order, after habitual disorder;

Any signs indicating a trip is being planned e.g., packing personal belongings, discussing travel
arrangements etc., when such a trip is not feasible;

Giving away valued possessions, e.g., wearing apparel, books, pictures, cigarettes,
commissary, etc.;

Continually refusing to lock-out during lock-out periods;

Hiding or attempting to hide, from view of the correction officer/observation aide;
Appearing to be talking to someone when , in fact, no one is present;

Frequent displays of shouting, crying and/or screaming;

Attempting to inflict self injury by banging parts of the body against the walls or fixtures;
Complaining of ailments(s), illness(es) and/or disease(s) that are nonexisting;

Expressing a belief that there are plots or plans against personal safety; believing that
someone or everyone is watching, talking, spying or acting suspiciously;

Having hallucinations/delusions (seeing objects or hearing voices that do not exist);
Unusual loss of memory;

Showing poor personal hygiene or appearance, doesn't shave, wash or change clothes, etc.;
Exhibiting strong feelings of guilt;

Being depressed;

Constantly fighting and arguing with other inmates;

Being alarmed (frightened) or in a state of panic;

Any unusual action or behavior that should be brought to the attention of the Mental
Health Staff.

Other: (explain)

 

 

 

PERVISING OFFICER'S ASSESSMENT AND RECOMMENDATION

 

 

 

 

 

Supervisor's Name: Shield Number: Date:

 

 

 

Response From Mental Health Services On Reverse Side

 
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CORRECTION DEPARTMENT
CITY OF NEW YORK
REFERRAL OF INMATES TO Side Coe a
arr MENTAL HEALTH SERVICES 2of2 | REF oR. 4018R
Inmate's Name: Number:

 

1. REASON FOR REFERRAL:

SUMMARY OF MENTAL HEALTH EVALUATION/RECOMMENDATION

 

 

 

 

 

 

 

2. RELEVANT FINDINGS: (include potential for suicidal and/or violent behavior)

 

 

 

 

 

 

3. RECOMMENDATIONS: (include special housing needs and precautions as needed)

 

 

 

 

 

 

 

Signature of Summary Prepared By:

Title:

 

Date:

 

 

DISTRIBUTION:

1 copy retained by Mental Health
1 copy to Medical Services
1 copy to Facility Administration

 

 

 
